        Case 4:20-cv-05072-TOR          ECF No. 9      filed 10/06/20    PageID.33 Page 1 of 3




 1

 2

 3

 4                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF WASHINGTON
 5
      SALVADOR PAZ-CORTES,
                                                           Case No: 4:20-CV-5072-TOR
 6                                        Plaintiff,
                                                           NOTICE SETTING TELEPHONIC
 7          v.                                             SCHEDULING CONFERENCE

      EDISON A. VALERIO,
 8
                                        Defendant.
 9

10                          TELEPHONIC SCHEDULING CONFERENCE

11                               DATE: 11/10/2020        TIME: 2:00 p.m.

     Counsel and pro se parties shall call the following telephone number on the date and time
12   indicated for a mandatory telephonic Scheduling Conference before Judge Thomas O. Rice. All
     pro se parties and an attorney substantively familiar with the case must participate in the
13   telephonic scheduling conference.

14                                 PHONE NUMBER: (888) 273-3658
                                   ACCESS CODE:   2982935
                                   SECURITY CODE: 5072
15
          The use of cellular or speaker phones is not permitted for telephonic proceedings.
16
     Rule 26(d)(1) prohibits a party from seeking discovery from any source before the parties have
17   had their Rule 26(f) conference. The parties shall make their Rule 26(a)(1) initial disclosures at
     or within 14 days after this Rule 26(f) conference.
18   To ensure that discovery and trial preparation advances efficiently, counsel and pro se parties
     shall discuss each and every one of the following subjects during the Rule 26(f) conference by
19   and then file a combined report addressing each one of these subjects not less than 14 days
     before the Scheduling Conference:
20



     Notice Setting Telephonic Scheduling Conference - 1
        Case 4:20-cv-05072-TOR          ECF No. 9      filed 10/06/20    PageID.34 Page 2 of 3




 1          a. whether jurisdiction and venue exist and, if they do exist, the basis for each;

            b. whether service of process is complete and, if not, a deadline for completion;
 2
            c. a brief description of the claims and defenses;
 3
            d. whether a statute’s constitutionality is being challenged, see Fed. R. Civ. P. 5.1, and
 4             whether the required notice has been provided;

            e. whether any issues should be certified to a state supreme court;
 5
            f. suggested deadline for adding additional parties, amending the pleadings, and seeking
 6             class certification;

 7          g. whether all non-government corporate parties have filed the necessary ownership
               statement, see Fed. R. Civ. P. 7.1;
 8
            h.   whether the case involves a minor or incompetent party and whether the appointment
                 of a guardian ad litem is necessary, see LCivR 17(c);
 9
            i.   discovery:
10                  • confirmation that initial disclosures, see Fed. R. Civ. P. 26(a)(1), will be
                    accomplished by the time of the hearing;
                    • subjects on which discovery may be needed;
11
                    • any issues about preserving discoverable information, including electronically
                    stored information;
12                  • claims of privilege, protection of confidentiality, and proposed confidentiality
                    agreements;
13                  • proposed agreements reached under Fed. R. Evid. 502;
                    • proposed modifications to the standard discovery procedures, including
                    bifurcation and/or consolidation of discovery, or an increase in the allowed
14
                    number of depositions (10), interrogatories (25), requests for production (30), or
                    requests for admission (15);
15                  • suggested expert disclosure deadlines; and
                    • suggested discovery cut-off;
16
            j. anticipated motions and suggested dispositive motion filing deadlines;
17
            k. trial:
                • whether a jury has been requested. In cases removed from state court in which a
18              party desires a jury trial, a jury demand must be filed within 30 days after
                removal, see LCivR 38(d);
19              • suggested trial date(s) and suggested location;
                • anticipated length of trial;
20



     Notice Setting Telephonic Scheduling Conference - 2
        Case 4:20-cv-05072-TOR         ECF No. 9      filed 10/06/20    PageID.35 Page 3 of 3




 1              • requests for bifurcation; and
                • the need for special audio/visual courtroom technology;
 2
            l. the likelihood for settlement and the point at which the parties can conduct
               meaningful dispute resolution, and
 3
            m. any other matters that may be conducive to the just, speedy, and inexpensive
 4             determination of the action.

     DATED: October 6, 2020
 5

 6

 7
                                          THOMAS O. RICE
                                       United States District Judge
 8

 9

10

11

12

13

14

15

16

17

18

19

20



     Notice Setting Telephonic Scheduling Conference - 3
